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317-20428                                                                                       #1381596

                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


MAGNOLIA FLEET, LLC, AND                              CIVIL ACTION NO: 2:18-cv-09864
MAGNOLIA MIDSTREAM, LLC
                                                      SECTION “I”
Plaintiffs
                                                      DISTRICT JUDGE
                                                      HON. JUDGE M. AFRICK
VERSUS
                                                      MAGISTRATE JUDGE
                                                      HON. MICHAEL NORTH
GRIFFIN BARGE LINE, LLC,
                                                      Rule 9(h) – Admiralty
Defendant


                          FIRST AMENDED VERIFIED COMPLAINT

        COMES NOW, Plaintiffs MAGNOLIA FLEET, LLC (“Magnolia Fleet”), and

MAGNOLIA MIDSTREAM, LLC (“Magnolia Midstream” and together with Magnolia Fleet

“Plaintiffs”) by and through undersigned counsel to hereby file its First Amended Complaint

against Defendant GRIFFIN BARGE LINE, LLC (“Griffin” or “Owner”) pursuant to Fed. R. Civ.

P. 15(1)(A) as follows:

                           PARTIES, JURISDICTION AND VENUE

34.     Plaintiffs adopt and re-allege all allegations, claims, and prayers for relief set forth in

their Original Verified Complaint (Rec. Doc. 1), as if set forth herein in full.

35.     On October 24, 2018, this Honorable Court issued Warrants of Foreign Attachment (Rec.

Docs. 5-6) pursuant to Rule B, that were served on the GRIFFIN 1L, USCG No. 1267926, and

GRIFFIN 2T, USCG No. 1267928. The GRIFFIN 1L and GRIFFIN 2T were seized by the United

States Marshal and are currently located at the Magnolia Fleet East Fleet dock located in New

Orleans, Louisiana, within this district.
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36.    The Plaintiffs now file this Amended Complaint to further assert in rem maritime lien

claims for the provision of necessaries against the GRIFFIN 1L and GRIFFIN 2T.

37.    Added as a defendant, in rem, is the barge GRIFFIN 1L, USCG No. 1267926.

38.    Added as a defendant, in rem, is the barge GRIFFIN 2T, USCG No. 1267928.

      COUNT II – RULE C ARREST OF THE GRIFFIN 1L AND THE GRIFFIN 2T

39.    Towage is a necessary as defined in the Commercial Instruments and Maritime Lien Act,

46 U.S.C. § 31301(4).

40.    Magnolia Fleet, LLC supplied towage and fleeting, a necessary service with a value of at

least $467,546.46 to the GRIFFIN 1L and the GRIFFIN 2T.

41.    Magnolia Midstream, LLC supplied fuel oil, a necessary good, with a value of at least

$26,218.00 to the Griffin 1L and $ 27,864.54 to the Griffin 2T.

42.    Despite amicable demand, to date, neither the GRIFFIN 1L, the GRIFFIN 2T, their

owner(s), nor their charter(s) have satisfied the Invoices for the supply of towage attached hereto

as Exhibit “C” or for the supply of bunkers attached hereto as Exhibit “D.”

43.    Pursuant to the Commercial Instruments and Maritime Lien Act, 46 U.S.C. § 31301, et

seq., and the general maritime law, Plaintiff Magnolia Fleet, LLC holds a maritime lien against

the GRIFFIN 1L and the GRIFFIN 2T, for the necessary labor, materials, and services provided

to the GRIFFIN 1L and the GRIFFIN 2T with a value of at least $467,546.46, which Plaintiff

asserts in rem.

44.    Pursuant to the Commercial Instruments and Maritime Lien Act, 46 U.S.C. § 31301, et

seq., and the general maritime law, Plaintiff Magnolia Midstream, LLC holds a maritime lien

against the GRIFFIN 1L and the GRIFFIN 2T, for the necessary labor, materials, and services




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provided to the GRIFFIN 1L and the GRIFFIN 2T with a value of at least $54,082.54, which

Plaintiff asserts in rem.

45.      Pursuant to Supplemental Rules C and E(5)(a), Plaintiffs request that a Warrant of Arrest

issue for the GRIFFIN 1L and the GRIFFIN 2T, and that thereafter the Court fix the principal

amount of bond or other security to obtain the GRIFFIN 1L and the GRIFFIN 2T’s release at an

amount sufficient to satisfy the amount of Plaintiffs’ claim with accrued interest and costs, and

further requests that the Court require that bond or other security be conditioned for the maximum

permitted by Rule E(5), which permits up to twice the amount of Plaintiffs’ claim.

46.       Under Rule C of the Supplemental Rules for Admiralty and Maritime Claims and Asset

Forfeiture Actions, Plaintiffs are entitled to arrest the GRIFFIN 1L and the GRIFFIN 2T, which

upon information and belief are owned/operated by Griffin Barge Line, LLC.

47.       No waiver is intended of any rights or remedies Plaintiffs may have under any agreement

among the parties or by law, which rights and remedies are specifically reserved.

WHEREFORE, Plaintiffs, Magnolia Fleet, LLC and Magnolia Midstream, LLC pray:

      1. That process in due form of law according to the practice of this Court in cases of admiralty

         and maritime jurisdiction issue against the GRIFFIN 1L and the GRIFFIN 2T and their

         appurtenances, and that they be seized pursuant to Rule C of the Supplemental Rules for

         Admiralty or Maritime Claims and Asset Forfeiture Actions;

      2. That the GRIFFIN 1L and the GRIFFIN 2T be condemned and sold to pay the costs of

         custodia legis and damages owed to Plaintiffs, Magnolia Fleet, LLC and Magnolia

         Midstream, LLC;

      3. That the maritime liens of Plaintiffs Magnolia Fleet, LLC and Magnolia Midstream, LLC,

         be recognized and enforced with preference and priority over all persons whomsoever; and



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   4. That this Court enter Final Judgment against the Defendant for Plaintiff, Magnolia Fleet’s

      damages, in the amount of at least $467,546.46 together with interest and costs.

   5. That this Court enter Final Judgment against the Defendant for Plaintiff, Magnolia

      Midstream’s damages, in the amount of at least $54,082.54, together with interest and

      costs.



Dated: October 31, 2018



                                               Respectfully submitted,

                                               /s/ Aaron B. Greenbaum_________________
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